» Case 8:25-cr-00070-WFJ-CPT Document1 Filed 01/27/25 Page 1of11PagelD 1

AD 91 (Rev, PPI) Criminal Complaint

UNITED STATES DISTRICT COURT
for the

Middle District of Florida

United States of America )
v. )
Frank Jude Petrone, Sr. Case No. 8:25-MJ-1131-AAS
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 17, 2024 __ in the county of Manatee in the
_. Middl «District of Florida , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 933(a){1) Trafficking a Firearm

This criminal complaint is based on these facts:

See Attached Affidavit.

@& Continued on the attached sheet.

e Complainayffs signage

_Joshua Dominguez, ATF Special Agent

Printed name and title

Sworn to before me over the telephone or other reliable electronic meaps and signed by me

pursuant to Fed. R. Crim. P. 4.1 and 4(d).

Date: January 27, 2025

City andstate = ——_ Tampa, Florida Amanda Amold Sansone, U.S. Magistrate Judge
— Printed name and title

Case 8:25-cr-00070-WFJ-CPT Document1 Filed 01/27/25 Page 2 of 11 PagelD 2

AFFIDAVIT IN SUPPORT
OF A CRIMINAL COMPLAINT

I, Joshua Dominguez, being first duly sworn, hereby depose and state as
follows:

INTRODUCTION AND AGENT BACKGROUND

1. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms
and Explosives (“ATF”), and have been so employed by the United States
Department of Justice since May 2022. I have approximately three years of law
enforcement training and experience. This training and experience include, but is
not limited to, employment with the Arizona State University Police Department as
an Emergency Dispatcher for approximately one year. Upon being hired by ATF, I
completed the Federal Law Enforcement Training Center’s Criminal Investigator
Training Program and ATF Special Agent Basic Training program.

2. I am authorized to investigate violations of laws of the United States,
including violent crimes, firearm trafficking offenses, and to execute warrants issued.
under the authority of the United States. lam currently assigned to the ATF Tampa
Division. During my employment as an ATF Special Agent, I have participated in
numerous investigations which have resulted in the arrests of numerous individuals
and the seizures of firearms and ammunition. During these investigations, I have
conducted or participated in interviews, and conducted numerous debriefings of
witnesses, informants, cooperating defendants, and other individuals cooperating

with the United States.
Case 8:25-cr-00070-WFJ-CPT Document1 Filed 01/27/25 Page 3 of 11 PagelD 3

3. I know from my training and experience that mitigating the illegal flow
of firearms is necessary to reduce the threat to public safety. The Gun Control Act
(“GCA”) sets forth a lengthy and detailed framework regarding who may sell,
possess, purchase, manufacture, or transfer firearms. There is a marked difference
between the steps necessary to control a gun compared to those necessary to exercise
control over illegal narcotics. Firearms are a legal commodity in the United States,
and citizens have a constitutional right to own them. Once a gun is in someone's
hands, it only takes a split second to pull the trigger. When Congress enacted the
GCA, it reiterated that the principal purposes were to keep firearms out of the hands
of those not legally entitled to possess them, and to assist law enforcement in their
“fight against crime and violence.”! ATF defines a “crime gun” as any firearm that is
illegally possessed, involved in a crime, or suspected to have been involved in a
crime.

4, The GCA prohibits convicted felons and other categories of prohibited
persons from possessing firearms due to potential dangerousness. As part of that
effort, the ATF Background Check Form 4473 must be completed before a federally
licensed firearms dealer (gun dealer) sells or transfers a firearm. It also imposes
record-keeping requirements on gun dealers, including that gun dealers record the
actual buyer of the firearm to assist law enforcement authorities in investigating gun

crimes through the tracing of guns back to the buyer. The illegal trafficking or straw

! Gun Control Act of 1968, § 101, Pub. L. No. 90-618, 82 Stat. 1213.
Case 8:25-cr-00070-WFJ-CPT Document1 Filed 01/27/25 Page 4 of 11 PagelD 4

purchasing of a firearm circumvents the critical background check required of gun
dealers in their gatekeeping role of verifying, at the point of sale, whether a potential
buyer may lawfully own a gun. The gun can then be used for criminal purposes
without fear that law enforcement will later trace it to the actual (or true) buyer. This
also deceives the gun dealers with respect to facts material to the lawfulness of their
firearms sales. The GCA provisions would mean little if a would-be gun buyer could
evade them by enlisting the aid of an intermediary or “straw purchaser” to complete
the paperwork on their behalf, thus undermining this important crime prevention
tool.

5. I know from my training and experience that altering or obliterating the
firearm serial number is often utilized by persons attempting to evade detection. This
disrupts law enforcement's ability to trace firearms used in crimes, which is crucial in
crime prevention and solving cases. Indeed, the only reason to possess such a firearm
is to evade detection by law enforcement.

6. I submit only those facts believed to be relevant in the determination of
probable cause, and this affidavit should not be construed as a complete statement of
all the facts in this investigation.

7. I submit this affidavit in support of a Criminal Complaint charging
Frank Jude PETRONE, Sr. (DOB: 06/15/1969) with trafficking a firearm in

violation of 18 U.S.C. § 933(a)(1).
Case 8:25-cr-00070-WFJ-CPT Document1 Filed 01/27/25 Page5of11PagelID5

PROBABLE CAUSE

8. On or about October 2, 2024, the Manatee County Sheriff's Office
notified ATF that a confidential informant (the “CI”)’ knew an individual who, in
turn, knew that the CI was a convicted felon and had sold firearms to the CI for U.S.
currency and narcotics in the past. The Cl later identified that seller as Frank Jude
PETRONE, Sr. (DOB: 06/15/1969).

9. PETRONE is currently employed by, and is a responsible party at, a
gun store in Sarasota, Florida, also within the Middle District of Florida. Because
PETRONE works for a licensed gun dealer and actively partakes in the sale of
firearms, he knows or should know that a convicted felon is prohibited from
possessing a firearm and would not pass the National Instant Criminal Background
Check System (“NICS”) from a licensed gun dealer.

10. On three separate occasions between October 2024 and January 2025,
ATF agents and Manatee County Sheriffs deputies used the CI to purchase three
firearms and one hundred and seventeen rounds of ammunition from PETRONE.

Before each deal, ATF agents and Manatee County Sheriff's deputies searched the

2 The CI has eleven felony convictions for dealing in stolen property and theft and is
cooperating with law enforcement for consideration on pending state charges for Trafficking of
Oxycodone, Possession of Fentanyl, Possession of Morphine, and Possession of Drug
Paraphernalia. The CI has provided information concerning criminal activity to ATF for
approximately three months. The CI has provided information relevant to this investigation since
approximately October 17, 2024. During that time, ATF agents have independently corroborated
the information that the CI provided them, and ATF agents believe that the information the CI has
provided is credible, reliable, and truthful. The Manatee County Sheriff's Office has also advised the
ATF that their deputies have independently corroborated the information that the CI provided them,
and the deputies believe that the information the CI has provided is credible, reliable, and truthful.
Case 8:25-cr-00070-WFJ-CPT Document1 Filed 01/27/25 Page 6 of 11 PagelD 6

CI and the CI’s vehicle to confirm that the CI did not possess any unauthorized
firearms, ammunition, narcotics, or currency. Each search yielded negative results.
Manatee County Sheriff's Office detectives then provided the CI with recorded U.S.
currency to exchange for the firearms and ammunition and equipped the CI and the
Cl’s vehicle with video and audio recording devices. ATF agents and Manatee
County Sheriff's deputies also visually surveilled the undercover purchases. After the
purchases, ATF agents recovered the firearms and ammunition and again searched
the Cl and Cl’s vehicle for any unauthorized additional firearms, ammunition,
narcotics, or currency. Those searches also yielded negative results. These purchases
took place in a public parking lot located in Manatee County, within the Middle
District of Florida. In my training and experience, illegal firearms transactions are
often conducted outside of premises where firearms are sold for a lawful purpose—
ie., a licensed dealership. The purchases are additionally described below.

11. On October 17, 2024, PETRONE sold a firearm (Taurus International
605 Poly Protector revolver, chambered in .357, bearing serial number AEK736227)

and ten rounds of .357 ammunition to the CI for $360° in U.S. currency. At

3 The Manufacturer’s Suggested Retail Price (“MSRP”) of the Taurus International 605 Poly
Protector revolver chambered in .357 is $416.99. PETRONE purchased this firearm as part of a
multiple sale. The GCA permits ATF to maintain "multiple sale" records of firearms transactions
where two or more sales of a pistol or revolver occurred to the same person, during any five (5)
consecutive business days. 18 U.S.C. § 923(g)(3)(A). I reviewed the multiple sale record for
PETRONE'’s purchase of this Taurus International 605 Poly Protector revolver. It showed that
PETRONE purchased it at a gun show on September 14, 2024. Based on my training and
experience, I know that vendors at gun shows often sell firearms well below MSRP because the
vendors compete on price, potential buyers are price-sensitive, and vendors frequently expect to
make up lower margins by selling a higher volume of firearms.
Case 8:25-cr-00070-WFJ-CPT Document1 Filed 01/27/25 Page 7 of 11 PagelD 7

approximately 7:03:21 p.m., PETRONE entered the CI’s vehicle. At approximately
7:03:38 p.m., PETRONE stated “.357, okay, and then we got hollow fucking points,
okay, wipe your fucking fingerprints off the fucking bullets.” The CI then stated
“with my past felony convictions I have right, they’re trying to fucking railroad my
ass right now ... I don’t know what to do at this point.” PETRONE responded “take
this, wipe the bullets off, get in this fucking truck, and drive.” At approximately
7:04:24 p.m., PETRONE took the U.S. currency from the CI. Based on my training
and experience, I believe that PETRONE understood the CI was a convicted felon.
The CI plainly stated they had past felony convictions and current pending felony
charges. PETRONE’s response recommending the CI “wipe off the bullets” indicates
that he knew that convicted felons are not able to possess firearms or ammunition
and completed the sale despite that knowledge. The Taurus revolver was purchased
by PETRONE on September 20, 2024, as a part of a multiple sale purchase, making
the TTC 27 days.

12. On November 8, 2024, PETRONE sold a firearm (Sig Sauer M18 semi-
automatic pistol, chambered in 9mm, bearing serial number TC523392) and fifty-
seven rounds of 9mm ammunition to the CI for $800* of U.S. currency. During the

transaction, PETRONE mentioned he used the money from the CI’s last purchase to

4 The MSRP of the Sig Sauer M18 semi-automatic pistol chambered in 9mm is $649.99. A
multiple sale record indicates that PETRONE purchased the Sig Sauer M18 semi-automatic pistol
from a gun dealer on September 24, 2024. PETRONE is employed by that gun dealer. Based on my
training and experience, I know that many gun dealers provide employees with discounts for
purchases at their stores.
Case 8:25-cr-00070-WFJ-CPT Document1 Filed 01/27/25 Page 8 of 11 PagelD 8

buy a new revolver. Based on my training and experience, I interpret PETRONE’s
statement to mean that he made a profit from reselling the Taurus International 605
Poly Protector revolver to the CI. PETRONE also mentioned having a machine gun
in his possession. This transaction was audio and video recorded. The Sig Sauer
semi-automatic pistol was purchased by PETRONE on October 7, 2024, as a part of
a multiple sale purchase, making the TTC 32 days.

13. On January 2, 2025, PETRONE sold a firearm (TISAS 1911A1 semi-
automatic pistol, chambered in .45 auto, bearing serial number T0620-24Z17780)
and fifty rounds of .45 auto ammunition to the CI for $600° of U.S. currency. During
the transaction, PETRONE offered to sell the CI a machine gun with an obliterated
serial number for $4,000 at a future date. PETRONE mentioned that he has several
loaded magazines for the machine gun that PETRONE offered to sell to the CI at his
home, which I know to be 16615 Southern Oaks Trail, Parrish, Florida 34219. This
transaction was audio and video recorded.

14. The GCA permits ATF to maintain sale records of handgun
transactions where the same person purchased two or more pistols or revolvers
during any five (5) consecutive business day span. 18 U.S.C. § 923(g)(3){A).
According to tracing statistics from ATF’s Crime Gun Intelligence Center (CGIC)
program, handguns that are part of a multiple sale are more likely to be used in

crimes rather than handguns sold alone. A short “time to crime,” correlates with the

5 The MSRP of the TISAS 1911A1 semi-automatic pistol chambered in .45 auto is $429.99.
Case 8:25-cr-00070-WFJ-CPT Document1 Filed 01/27/25 Page 9of11PagelID 9

purchaser’s planned illegal diversion or otherwise criminal intent with respect to the

purchased firearms. Those same reports indicate that the 9-millimeter semi-

automatic pistol is the most frequently traced type of gun recovered in crimes.

15.

On January 24, 2025, ATF Special Agent and Firearms and

Ammunition Specialist Jeffrey Burt conducted an examination of the below listed

firearms and ammunition:

16.

e Taurus International, Model 605 Poly Protector revolver, chambered in

357 with serial number AEK736227 (purchased on October 17, 2024);
Five rounds of Speer brand .357 ammunition (purchased on October
17, 2024);

Five rounds of G.F.L. brand .357 ammunition (purchased on October
17, 2024);

Sig Sauer, Model M18 semi-automatic pistol, chambered in 9mm with
serial number TC523392 (purchased on November 8, 2024);

Trabzon Gun Industry Corp. (TISAS), Model 1911A1 semi-automatic
pistol, chambered in .45 auto with serial number T0620-24Z17780
(purchased on January 2, 2025); and

Fifty rounds of CBC brand .45 auto ammunition (purchased on January
2, 2025).

Based upon ATF Firearms and Ammunition Specialist Jeffrey Burt’s

examination of and research about the above-described weapons, as well as his
> Case 8:25-cr-00070-WFJ-CPT Document1 Filed 01/27/25 Page 10 of 11 PagelD 10

knowledge, training, and experience, he believes the above-described weapon is a
firearm as defined in 18 U.S.C. § 921(a)(3).

17. Further, Special Agent Jeffrey Burt opined the above-described firearms
were not manufactured in the State of Florida. To his knowledge, none of the
manufacturers listed above have any manufacturing facilities in the State of Florida.
Therefore, the firearms would have had to travel in or affect interstate or foreign
commerce prior to its recovery in the State of Florida.

18. | Based on the foregoing, I believe there is probable cause that on or
about October 17, 2024, November 8, 2024, January 2, 2025, Frank Jude
PETRONE, Sr. did knowingly transfer a firearm affecting interstate commerce to a
convicted felon in violation of 18 U.S.C. § 933(a)(1). By shipping, transporting,
transferring, or causing to be transported, or otherwise disposing of a firearm to a

person for whom PETRONE knew or reasonably believed that such receipt would
Case 8:25-cr-00070-WFJ-CPT Document1 Filed 01/27/25 Page 11 of 11 PagelD 11

constitute a felony, PETRONE engaged in conduct that section 933(a)(1) of the Stop
Illegal Trafficking in Firearms Act was meant to prevent, thus clearly endangering

_ the community. These violations occurred within the Middle District of Florida.

Respectfully submitted,

‘/ Joshua Domi
Special Agent
Bureau of Alcohol, Tobacco,
Firearms, and Explosives

Affidavit submitted to me by reliable electronic means and attested to me as true and
accurate by telephone or other reliable electronic means consistent with Fed. R. Crim. P. 4.1
and 4 (d) before me this _2/day of January 2025.

Agaede All os.

AMANDA ARNOLD SANSONE
United States Magistrate Judge

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